            Case 1:17-cv-01638-RHH Document 43 Filed 02/02/18 Page 1 of 2



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST

2M RESEARCH SERVICES, LLC,                           )              No. 17-1638C
                                                     )       (Senior Judge Robert H. Hodges, Jr.)
                Plaintiff,                           )
                                                     )
       v.                                            )
                                                     )
THE UNITED STATES,                                   )
                                                     )
                Defendant,                           )
                                                     )
       and                                           )
                                                     )
VISION PLANNING & CONSULTING, LLC,                   )
                                                     )
                Defendant-Intervenor.                )

   DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO FILE A SUR-REPLY

       On January 24, 2018, plaintiff 2M Research Services, LLC (2M) filed a motion seeking

leave to file a sur-reply. ECF docket no. 41. Although we do not agree with the arguments

contained in the motion, nor understand the necessity of 2M’s sur-reply, we do not oppose the

filing of the sur-reply attached to 2M’s motion. In addition, we will not be seeking leave to file a

response to 2M’s sur-reply.
        Case 1:17-cv-01638-RHH Document 43 Filed 02/02/18 Page 2 of 2




                                          Respectfully submitted,

                                          CHAD A. READLER
                                          Acting Assistant Attorney General

                                          ROBERT E. KIRSCHMAN, JR
                                          Director

                                          s/Martin F. Hockey, Jr.
                                          MARTIN F. HOCKEY, JR.
                                          Deputy Director

                                          s/Nathanael B. Yale
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February 2, 2018




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